USCA Case #22-7063     Document #1984637          Filed: 02/03/2023   Page 1 of 57



          ORAL ARGUMENT SCHEDULED FOR MARCH 20, 2023
                                   No. 22-7063
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
            AMERICAN SOCIETY FOR TESTING AND MATERIALS, et al.,
                               Appellants
                                   v.
                       PUBLIC.RESOURCE.ORG, INC.,
                                Appellee

                  Appeal from the United States District Court
                          for the District of Columbia
                 Hon. Tanya S. Chutkan, No. 1:13-cv-1215-TSC

              SUPPLEMENTAL PUBLIC APPENDIX
                  VOLUME 14 (JA9506-JA9547)
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USCA Case #22-7063     Document #1984637       Filed: 02/03/2023   Page 2 of 57



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USCA Case #22-7063                Document #1984637                    Filed: 02/03/2023           Page 3 of 57



                                       TABLE OF CONTENTS

                                      VOLUME 1 (JA1-JA493)
Docket Sheet, American Society for Testing and Materials, et al v.
Public.Resource.Org, Inc., No. 13-cv-1215 ......................................................... JA1

Exhibit A to Complaint, DKT. 1-1 ..................................................................... JA35

Transcript of 11/04/15 Status Hearing before Judge Tanya S.
Chutkan, DKT. 116 ............................................................................................. JA45

Proposed Order Granting Plaintiffs’ Motion for Leave to File
Under Seal, DKT. 117-1 ..................................................................................... JA66

Exhibit 1 to Declaration of Jordana S. Rubel in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 117-2 (Material Under Seal) ................ JA68

Plaintiffs’ Memorandum of Law in Support of Motion for Summary
Judgment and Permanent Injunction, DKT. 118-1 ........................................... JA182

Plaintiffs’ Statement of Material Facts in Support of Motion for
Summary Judgment, DKT. 118-2 ..................................................................... JA256

Declaration of Dennis J. Berry and Exhibits in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-3 .................................................. JA306

Declaration of Steven Cramer and Exhibits in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-4 .................................................. JA336

Declaration of James Golinveaux in Support of Plaintiffs’ Motion
for Summary Judgment, DKT. 118-5 ............................................................... JA348

Declaration of Randy Jennings and Exhibit in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-6 .................................................. JA352

Declaration of Thomas B. O’Brien, Jr. and Exhibits in Support of
Plaintiffs’ Motion for Summary Judgment, DKT. 118-7 ................................. JA362



                                                         i
USCA Case #22-7063               Document #1984637                    Filed: 02/03/2023           Page 4 of 57



                                    VOLUME 2 (JA494-JA1297)

Declaration of Thomas B. O’Brien, Jr. and Exhibits in Support of
Plaintiffs’ Motion for Summary Judgment, DKT. 118-7 (continued).............. JA494

Declaration of James T. Pauley and Exhibits in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-8 .................................................. JA629

Declaration of Kevin Reinertson in Support of Plaintiffs’ Motion
for Summary Judgment, DKT. 118-9 ............................................................... JA663

Declaration of Stephanie Reiniche and Exhibits in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-10 ................................................ JA668

Declaration of James Thomas in Support of Plaintiffs’ Motion for
Summary Judgment, DKT. 118-11 ................................................................... JA697

Exhibit 1 to Declaration of Jordana S. Rubel in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-12 (Jarosz Report)
(Material Under Seal)........................................................................................ JA704

Exhibit 2 to Declaration of Jordana S. Rubel in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-12 ................................................ JA818

Exhibit 3 to Declaration of Jordana S. Rubel in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-12 (Material Under Seal) ............ JA896

Exhibit 8 to Declaration of Jordana S. Rubel in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-12 ................................................ JA999

Exhibit 10 to Declaration of Jordana S. Rubel in Support of Plaintiffs’
Motion for Summary Judgment, DKT. 118-12 .............................................. JA1005

Defendant Public.Resource.Org’s Statement of Material Facts in
Support of Motion for Summary Judgment, DKT. 120-3
(Material Under Seal) (Public Version at DKT. 121-2) ................................. JA1014

Declaration of Matthew Becker in Support of Public.Resource.Org’s
Motion for Summary Judgment, DKT. 120-4 (Material Under Seal) ............ JA1050


                                                        ii
USCA Case #22-7063            Document #1984637                 Filed: 02/03/2023         Page 5 of 57



Exhibit 4 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-6 (Material Under Seal) ................................................................. JA1072

Exhibit 22 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-9 (Material Under Seal) ................................................................. JA1092

Exhibit 53 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-10 (Material Under Seal) ............................................................... JA1100

Exhibit 74 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-11 (Material Under Seal) ............................................................... JA1119

Exhibit 80 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-14 (Material Under Seal) ............................................................... JA1122

Exhibit 87 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-20 (Material Under Seal) ............................................................... JA1125

Exhibit 88 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-21 (Material Under Seal) ............................................................... JA1136

Exhibit 89 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-22 (Material Under Seal) ............................................................... JA1149

Exhibit 90 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-23 (Material Under Seal) ............................................................... JA1204

Exhibit 91 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-24 (Material Under Seal) ............................................................... JA1206


                                                   iii
USCA Case #22-7063              Document #1984637                   Filed: 02/03/2023          Page 6 of 57



Exhibit 92 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-25 (Material Under Seal) ............................................................... JA1208

Exhibit 93 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-26 (Material Under Seal) ............................................................... JA1231

Exhibit 94 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-27 (Material Under Seal) ............................................................... JA1238

Exhibit 129 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-29 (Material Under Seal) ............................................................... JA1245

Exhibit 146 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-33 (Material Under Seal) ............................................................... JA1254

Exhibit 150 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 120-34 (Material Under Seal) ............................................................... JA1257

Declaration of Carl Malamud in Support of Public.Resource.Org’s
Motion for Summary Judgment, DKT. 121-5 ................................................ JA1260

Exhibits 1-10 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-1.................................................................................... JA1271

                                  VOLUME 3 (JA1298-JA1677)

Exhibits 1-10 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-1 (continued) ................................................................ JA1298

Exhibits 11-20 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-2.................................................................................... JA1569




                                                      iv
USCA Case #22-7063              Document #1984637                   Filed: 02/03/2023          Page 7 of 57



                                  VOLUME 4 (JA1678-JA2057)

Exhibits 11-20 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-2 (continued) ................................................................ JA1678

Exhibits 21-40 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-3.................................................................................... JA1938

                                  VOLUME 5 (JA2058-JA2437)
Exhibits 21-40 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-3 (continued) ................................................................ JA2058

Exhibits 41-60 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-4.................................................................................... JA2107

Exhibits 61-80 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-5.................................................................................... JA2204

Exhibits 61-80 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-5.................................................................................... JA2258

Exhibits 81-100 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-6.................................................................................... JA2296

                                  VOLUME 6 (JA2438-JA2817)

Exhibits 81-100 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-6 (continued) ................................................................ JA2438

Exhibits 101-120 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-7.................................................................................... JA2527

Exhibits 121-140 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-8.................................................................................... JA2644

                                  VOLUME 7 (JA2818-JA4847)

Exhibits 141-157 to Public.Resource.Org’s Motion for Summary
Judgment, DKT. 122-9.................................................................................... JA2818


                                                      v
USCA Case #22-7063                Document #1984637                      Filed: 02/03/2023            Page 8 of 57



Exhibit 3 to Declaration of Kathleen Lu in Support of
Public.Resource.Org’s Motion to Strike, DKT. 124-5 ................................... JA2952

Declaration of Steve Comstock in Support of Plaintiffs’ Reply to
Opposition to Motion for Summary Judgment, DKT. 155-5 ......................... JA2955

Declaration of Christian Dubay in Support of Plaintiffs’ Reply to
Opposition to Motion for Summary Judgment, DKT. 155-6 ......................... JA2960

Exhibit A to Declaration of Christian Dubay in Support of Plaintiffs’
Reply to Opposition to Motion for Summary Judgment, DKT. 155-6,
exhibit A (Material Under Seal) ..................................................................... JA2965

Supplemental Declaration of Thomas B. O’Brien, Jr. in Support of
Plaintiffs’ Reply to Opposition to Motion for Summary Judgment,
DKT. 155-7 ..................................................................................................... JA3849

Exhibit 10 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 163-6 (Material Under Seal) ................................................................. JA3925

Exhibit 11 to Declaration of Matthew Becker in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 163-7 (Material Under Seal) ................................................................. JA3928

Declaration of Matthew Becker in Support of Public.Resource.Org’s
Motion for Summary Judgment, DKT. 164-1 ................................................ JA3930

Public.Resource.Org’s Supplemental Statement of Undisputed
Material Facts in Support of Public.Resource.Org’s Motion
for Summary Judgment, DKT. 164-3 ............................................................. JA3934

Supplemental Declaration of Carl Malamud in Support of
Public.Resource.Org’s Motion for Summary Judgment,
DKT. 164-8 ..................................................................................................... JA3941

Exhibit 5 to Supplemental Declaration of Carl Malamud in Support
of Public.Resource.Org’s Motion for Summary Judgment,
DKT. 164-13 ................................................................................................... JA3943


                                                          vi
USCA Case #22-7063                Document #1984637                     Filed: 02/03/2023            Page 9 of 57



Exhibit 6 to Supplemental Declaration of Carl Malamud in Support
of Public.Resource.Org’s Motion for Summary Judgment,
DKT. 164-14 ................................................................................................... JA3988

Memorandum Opinion, DKT. 175.................................................................. JA4003

Exhibit 156 to Declaration of Jane W. Wise in Support of Plaintiffs’
Second Motion for Summary Judgment, DKT. 198-40 ................................. JA4822

                                    VOLUME 8 (JA4848-JA7295)

Exhibit 156 to Declaration of Jane W. Wise in Support of Plaintiffs’
Second Motion for Summary Judgment, DKT. 198-40 (continued) .............. JA4848

Exhibit 167 to Declaration of Jane W. Wise in Support of Plaintiffs’
Second Motion for Summary Judgment, DKT. 198-48 ................................. JA4927

Exhibit 173 to Declaration of Jane W. Wise in Support of Plaintiffs’
Second Motion for Summary Judgment, DKT. 198-48 ................................. JA4934

Declaration of James S. Thomas and Exhibits in Support of Plaintiffs’
Second Motion for Summary Judgment, DKT. 198-49 ................................. JA4940

Supplemental Declaration of James T. Pauley in Support of Plaintiffs’
Second Motion for Summary Judgment, DKT. 198-50 ................................. JA4985

Plaintiffs’ Memorandum in Support of Second Motion for Summary
Judgment and for Permanent Injunction, DKT. 199-1
(Material Under Seal) (Public Version at DKT. 200)..................................... JA5001

Plaintiffs’ Second Supplemental Statement of Material Facts in
Support of Second Motion for Summary Judgment, DKT. 199-2
(Material Under Seal) (Public Version at DKT. 201)..................................... JA5059

Exhibit D to the Supplemental Declaration of James T. Pauley
in Support of Second Motion for Summary Judgment,
DKT. 199-15 (Material Under Seal) .............................................................. JA5121




                                                         vii
USCA Case #22-7063            Document #1984637                  Filed: 02/03/2023         Page 10 of 57



Exhibit F to the Supplemental Declaration of James T, Pauley
in Support of Second Motion for Summary Judgment,
DKT. 199-17 (Material Under Seal) .............................................................. JA5223

Exhibit P to the Supplemental Declaration of James T. Pauley
in Support of Second Motion for Summary Judgment,
DKT. 199-27 (Material Under Seal) .............................................................. JA5571

Exhibit T to the Supplemental Declaration of James T. Pauley
in Support of Second Motion for Summary Judgment,
DKT. 199-31 (Material Under Seal) .............................................................. JA6501

Exhibit V to the Supplemental Declaration of James T. Pauley
in Support of Second Motion for Summary Judgment,
DKT. 199-33 (Material Under Seal) .............................................................. JA6916

Supplemental Declaration of Stephanie Reiniche in Support of
Second Motion for Summary Judgment, DKT. 198-53 ................................. JA6944

Exhibit 1 to Supplemental Declaration of Stephanie Reiniche in
Support of Second Motion for Summary Judgment, DKT. 199-34,
exhibit 1 (Material Under Seal) ..................................................................... JA6948

Public Resource’s Second Motion for Summary Judgment, DKT. 202......... JA7139

Public Resource’s Second Supplemental Statement of Material Facts
in Opposition To Plaintiffs’ Motion for Summary Judgment and
Permanent Injunction, and in Support of Public Resource’s Second
Motion for Summary Judgment, DKT. 203-2 (Material Under Seal) ........... JA7142

Exhibit 77 to Public Resource’s Second Motion for Summary
Judgment, DKT. 203-27 (Material Under Seal) ............................................ JA7197

Declaration of Carl Malamud in Support of Public Resource’s Second
Motion for Summary Judgment, DKT. 204-4 ................................................ JA7199

Declaration of Matthew Becker in Support of Public Resource’s
Second Motion for Summary Judgment, DKT. 204-5 ................................... JA7216



                                                   viii
USCA Case #22-7063             Document #1984637                   Filed: 02/03/2023         Page 11 of 57



Exhibit 34 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-40 ................................................................................. JA7226

Exhibit 36 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-42 ................................................................................. JA7228

                                 VOLUME 9 (JA7296-JA7675)

Exhibit 36 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-42 (continued) .............................................................. JA7296

Exhibit 37 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-43 ................................................................................. JA7317

Exhibit 38 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-44 ................................................................................. JA7439

Exhibit 40 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-46 ................................................................................. JA7541

Exhibit 41 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-47 ................................................................................. JA7655

                                VOLUME 10 (JA7676-JA8154)

Exhibit 41 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-47 (continued) .............................................................. JA7676

Exhibit 42 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-48 (Material Under Seal) ............................................. JA7761

Exhibit 43 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-49 ................................................................................. JA7861

Exhibit 44 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-50 ................................................................................. JA7959

Exhibit 45 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-51 ................................................................................. JA8045


                                                     ix
USCA Case #22-7063             Document #1984637                   Filed: 02/03/2023         Page 12 of 57



                                VOLUME 11 (JA8155-JA8817)

Exhibit 45 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-51 (continued) .............................................................. JA8155

Exhibit 46 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-52 (Material Under Seal) ............................................. JA8165

Exhibit 55 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-61 (Material Under Seal) ............................................. JA8269

Exhibit 56 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-62 (Material Under Seal) ............................................. JA8297

Exhibit 60 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-66 ................................................................................. JA8324

Exhibit 72 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-78 (Material Under Seal) ............................................. JA8327

Exhibit 73 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-79 (Material Under Seal) ............................................. JA8352

Exhibit 74 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-80 (Material Under Seal) ............................................. JA8378

Exhibit 75 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-81 (Material Under Seal) ............................................. JA8405

Exhibit 76 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-82 (Material Under Seal) ............................................. JA8435

Exhibit 77 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-83 (Material Under Seal) ............................................. JA8438

Exhibit 78 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-84 (Material Under Seal) ............................................. JA8440

Exhibit 79 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-85 (Material Under Seal) ............................................. JA8446

                                                      x
USCA Case #22-7063             Document #1984637                   Filed: 02/03/2023         Page 13 of 57




Exhibit 80 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-86 (Material Under Seal) ............................................. JA8448

Exhibit 84 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-90 ................................................................................. JA8450

Exhibit 85 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-91 ................................................................................. JA8456

Exhibit 86 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-92 ................................................................................. JA8471

Exhibit 87 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-93 ................................................................................. JA8489

Exhibit 88 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-94 ................................................................................. JA8491

Exhibit 89 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-95 ................................................................................. JA8534

Exhibit 90 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-96 ................................................................................. JA8538

Exhibit 91 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-97 ................................................................................. JA8654

Exhibit 96 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-102 ............................................................................... JA8667

Exhibit 97 to Public Resource’s Second Motion for Summary
Judgment, DKT. 204-103 (Material Under Seal) ........................................... JA8729

Plaintiffs’ Statement of Disputed Facts and Objections in Opposition
to Public Resource’s Second Supplemental Statement of Material
Facts, DKT. 212-1 (Material Under Seal)
(Public Version at DKT. 213-20).................................................................... JA8733



                                                     xi
USCA Case #22-7063                Document #1984637                     Filed: 02/03/2023            Page 14 of 57



                                   VOLUME 12 (JA8818-JA9197)

Plaintiffs’ Statement of Disputed Facts and Objections in Opposition
to Public Resource’s Second Supplemental Statement of Material
Facts, DKT. 212-1 (Material Under Seal)
(Public Version at DKT. 213-20) (continued) ................................................ JA8818

Plaintiffs’ Third Supplemental Statement of Material Facts in
Support of Second Motion for Summary Judgment, DKT. 213-1 ................. JA8858

Exhibit 176 to Declaration of Jane W. Wise in Support of Second
Motion for Summary Judgment, DKT. 213-6 ................................................ JA8864

Supplemental Reply Declaration of Matthew Becker in Support of Public
Resource’s Second Motion for Summary Judgment, DKT. 215-3................. JA9005

Exhibit 98 to Supplemental Reply Declaration of Matthew Becker in
Support of Public Resource’s Second Motion for Summary Judgment,
DKT. 215-4 ..................................................................................................... JA9010

                                   VOLUME 13 (JA9198-JA9505)
Exhibit 98 to Supplemental Reply Declaration of Matthew Becker in
Support of Public Resource’s Second Motion for Summary Judgment,
DKT. 215-4 (continued).................................................................................. JA9198

Exhibit 99 to Supplemental Reply Declaration of Matthew Becker in
Support of Public Resource’s Second Motion for Summary Judgment,
DKT. 215-5 ..................................................................................................... JA9249

Memorandum and Opinion re Plaintiffs’ Motion for Summary
Judgment and Permanent Injunction, and Defendant’s Cross-Motion
for Summary Judgment, DKT. 239................................................................. JA9265

Appendix to Memorandum and Opinion re Plaintiffs’ Motion for
Summary Judgment and Permanent Injunction, and Defendant’s
Cross-Motion for Summary Judgment, DKT. 239-1 ...................................... JA9312

Order granting in part and denying in part Plaintiffs’ Motion for
Summary Judgment; granting in part and denying in part Plaintiffs’

                                                         xii
USCA Case #22-7063               Document #1984637                     Filed: 02/03/2023           Page 15 of 57



Motion for Permanent Injunction; granting in part and denying in
part Defendant’s Cross-Motion for Summary Judgment, DKT. 240 ............. JA9499

Notice of Appeal ............................................................................................. JA9502

                                 VOLUME 14 (JA09506-JA09547)

 Exhibit 58 to the Supplemental Declaration of Matthew Becker in Opposition to
 [198] Plaintiff’s Motion for Summary Judgment, Exhibit 9 from the deposition of
 Mary Saunders, IBR Handbook, July 2018, DKT. 204-64…………………JA09506




                                                        xiii
     Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 1 of 42
USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 16 of 57




                      EXHIBIT 58




                                  JA09506
     Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 2 of 42
USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 17 of 57




                                   IBR HANDBOOK
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                                  JA09507                                             ?" t5 17
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 3 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 18 of 57

                                                                   IBR HANDBOOK




                                                    Overview
    Incorporation by reference (IBR) allows Federal agencies (you) to comply with the requirement to publish
    rules in the Federal Register and the Code of Federal Regulations (CFR) by referring to material already
    published elsewhere. This makes IBR an efficient way for agencies to maximize their reliance on voluntary
    consensus standards and minimize their reliance on government-unique standards. When Federal
    agencies use such material, it saves taxpayer money, encourages efficiency, and promotes economic
    competition.

    When an agency proposes to incorporate material by reference, the agency must balance the following:

    •   Its statutory obligations regarding reasonable availability of the material,

    •   U.S. copyright law,

    •   U.S. international trade obligations, and

    •   The agency's ability to substantively regulate under its own authorizing statutes.

    This handbook will highlight the issues agencies should consider when thinking about IBRing material
    into the CFR. The handbook describes the purpose and legal effect of IBR and provides guidance to
    Federal agencies on the following:

    •   The factors that agencies should consider when incorporating standards 1 by reference into the CFR;

    •   The types of material that are eligible for IBR;

    •   How an agency can request approval for an IBR;

    •   Using the right IBR language in a rulemaking document;

    •   Removing the IBR from the CFR.

    Where possible, the Legal Affairs and Policy Division of the Office of the Federal Register (we) have
    included examples and templates, so that the procedures will be as clear as possible.

    If your agency is considering using IBR in a regulation, your regulation drafters and agency liaisons should
    contact us as early as possible (OFR-Legal@gpo.gov). Agencies must follow the approval process in order
    to properly IBR material into the CFR, and we want to ensure that your document will be reviewed and
    approved without delay.

    You can find the most current version of the IBR Handbook on our website.


1 We use "standard" to refer to a unique publication, regardless of type. Common types of publications include standards,
test methods, service material, and technical manuals. We don't distinguish between consensus and non-consensus
standards.

www.archives.gov/federal-register/write/handbook/ibr.pdf



                                                       JA09508
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 4 of 42
       USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 19 of 57

                                                                                                                 IBR HANDBOOK




Overview                     ................ .. ... ....... .. ...... .. ............ ..... ... ...... ... ..... ........ .... ......... ... ·· ·· ··· ··· ······ ·· ··········· i
I. Introduction .. ...................... ...... ................ .... .......... ...... ...... ...................... .......... ...... ...... ..... ... 1
    A. What is Incorporation by Reference (IBR)? ...... ...... ... ........... ....................................... . 1
    B.     What is the Legal Effect of IBR? ........ .... .. ... .. ... .. .......... ................ ........................ ........ ... 1
    C.     What is the Purpose of IBR? .. ... ..... ........................ ... ..... .... ..... .............. ... ..... .................. 1
    D. How Do I Know if I Must Use IBR? ............................................ ... ...................... ...... .. . 1
    E.     When Can I Use !BR? .. ......................... .... ....... .. .................. ...... .......... ........ ..... ... ............ 3
    F.     Is There Material I Cannot IBR? ...... ......... ...................... ..... .. ....... ...... .......... ....... .... ..... .. 3
    G. Who Should I Contact When I am Considering IBR? .................... .. ..... .. ......... ........ .. . 3
II. What Is the Legal Authority for IBR and the Related Guidance? .. ........ .. .. ........ ...... ........ 4
    A. Freedom of Information Act ..... ..... .... ................. .... ... ................. ....... .................. ........... 4
    B.     Regulations ..... ........................... .. ..... .............. .. ... ... ....... .. ........... .... ... .... ............ ............ ... 4
    C.         ational Technology Transfer and Advancement Act of 1995 ( TT AA) .. ....... ... ... 4
    D. Office of Management and Budget (0MB) ....... ..... ...... ... .. .......... ............... ........ ... ... .... 5
    E. Administrative Conference of the United States (ACUS) ........... .. ...... ....... ......... ....... 5
III. Who Approves IBR Requests? ...... .... .............. ...... ... .... ... .. .... ..... .... ...... .. ...... .. .... ..... ... .... .... .. 6
IV. What Types of Material May be Approved for !BR? ..... ...................... ... .. ........ .... ............ 6
V. When Deciding to Use a Standard, What Should My Agency Consider? .. .................... 7
    A. Consider Using Standards on a Case-by-Case Basis ............... ........ ..... .. .... .. ...... ... .. ... 7
    B. Determine Which Version of the Standard to Use ........ ............ ....... ................. ..... .. ... 7
VI. What is the Required Availability for IBR Material? ......... .. .. ........................ ... ................ 7
    A. Incorporated Material Must Be Reasonably Available .. ... ............. ..................... .... .... 7
    B. Ways to Make Incorporated Material Reasonably Available ........................ ............ 8
    C.     Balancing Procedural Requirements and Substantive Statutory Authority ........... 9
    D. Web-based Material ............................... ......................... ... .. ........ .. ........ ..................... .... . 9
    E.     Electronic Material .. ... ...... .......... .. .. .. ......... .. ........ .... .. .. ... .. ........... ... ........ ... ........ .... .... ..... 10
    F.     Software Applications .. ..... .. ............... .................................. .. ....... :................ ... ... ......... 10

www.archives.gov/federal-reg ister/write/handbook/ibr.pdf




                                                                                           JA09509
           Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 5 of 42
      USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 20 of 57

                                                                                                  IBR HANDBOOK




VII. When Do I Request Approval for an IBR? ..... ...... ..... .. ... .... ... .. ....... ................... ... ......... .. 11
VIII. How Do I Request Approval for an IBR? ................................ ..... .............. ..... .. ............ 12
    A. Review Your IBR Material ............. .... ....................................................... ..... .. ... .... ...... 12
    B.     Send an IBR Request Package to the Director of the Federal Register ................ ... 12
    C. How do I draft the IBR request letter and Who Can Sign It? ........... ... .. .... .............. 13
    D. How Long Will It Take for the OFR to Process My IBR Request? .......................... 15
IX. IBR Language in your Rulemaking Document ..... ............................. .. ..... ...................... 16
    A. Advance Notice of Proposed Rulemaking ................................................................. 16
    B.     Proposed Rules ................................................................... ....... ...... ...... ......................... 16
    C. Final Rules ........................................... .................................................................... ........ 17
X. How Do I Draft IBR Language for the Regulatory Text? ................................................ 19
    A. Advance Notices of Proposed Rulemaking ............................................................... 19
    B.     Proposed Rules ...................... ................. ...... .......................... ........................................ 19
    C. Final Rules .......... ......................... ...... ............ ............ .... ... ...... ...................... ........ ... .. .. .... 19
XI. How Do I Format Regulatory Text that Contains an IBR? ... .. ...................... .. .. ............ . 21
    A. Advanced                  otices of Proposed Rulemaking .................................. ....................... .... 21
    B.     Proposed Rules ................. .................. .................................................................... ....... . 21
    C. Final Rules ........ ... ............................................................................................................ 21
XII. When and How Do I Make Changes to Incorporated Standards? .................. .. ... ...... . 24
    A. Agencies, not the OFR, Determine Whether to Update Incorporated Standards 24
    B.     I£ Your Agency Withdraws the Final Rule containing the IBR
           or the Final Rule Does Not Go into Effect ..... .......... ..... .............................................. 25
XIII. How Do I Remove IBR Material from the Code of Federal Regulations (CFR)? ..... 25
XIV. IBR Checklist for Final Rules .............................. ............................................................. 26
XV. Templates and Boilerplate Language ...................... ........................................................ 27




www.archives.gov/federal-reg ister/write/handbook/ibr.pdf




                                                                                 JA09510
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 6 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 21 of 57

                                                               IBR HANDBOOK




I. Introducti on

        A. What is Incorporatio n by Reference (IBR)?
        Incorporation by reference (IBR) allows Fed eral agencies to comply with the requirement to
        publish rules in the Federal Register and the Code of Federal Regulations (CFR) by referring to
        material already published elsewhere.

        B. What is the Legal Effect of IBR?
       The legal effect of IBR is that the referenced material is treated as if it were published in the
       Federal Register and the CFR. When IBRed, this material has the force and effect of law, just
       like all regulations published in the Federal Register and the CFR.

        C. What is the Purpose of IBR?
       IBR allows agencies to include technical and complex requirements in regulations even when
       those requirements cannot be published in the Federal Register and CFR. The Administrative
       Conference of the United States (ACUS) has recommended that agencies use IBR because "IBR
       furthers important, substantive regulatory policies, enabling agencies to draw on the expertise
       and resources of private sector standard developers to serve the public interest. IBR allows
       agencies to give effect to a strong federal policy, embodied in the National Technology
       Transfer and Advancement Act of 1995 (NTTAA) and 0MB Circular A-119, in favor of agency
       use of voluntary consensus standards." 2 Congress authorized the Director of the Federal
       Register to normalize the IBR process in the Freedom of Information Act (5 U.S.C. 552(a)).


       D. How Do I Know if I Must Use IBR?
       Anytime you refer to material (it doesn't matter if it is printed or online and it doesn' t matter
       who produced the material) rather than including the content in your regulations, you need to




2Administrative Conference Recommendation 2011-5, h1corporation by Reference, Adopted December 8, 2011, 77 FR
2257, January 17, 2012 (ACUS Recommendation 2011-5)



www.archives.gov/f ederal-register/write /handbook/ibr.pdf




                                                     JA09511
             Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 7 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 22 of 57

                                                                      IBR HANDBOOK




          ask two questions: 'Does it have a legal citation?' and, if not, 'Is it required to rmderstand or
          comply with the regulations?'

          1. Does it have a legal citation3 ?

            •    If the reference is to a different CFR section or to the U.S. Code, simply cross-reference the
                 material as provided by 1 CFR 21.21 (see sections 2.16 and 3 .16 of the Document Drafting
                 Handbook) and 1 CFR 21.51, 21.52, and 21.53. If you cross-reference a statute or CFR
                 section, then you are not incorporating anything by reference (see section IV of this
                 handbook).

            •    If you have a legal citation that is not covered by 1 CFR part 21, or if you do not have a
                 legal citation, move to the second question.

          2. Is it required to understand or comply with the regulations? Do your regulations require
             that a party "resort to-V' material that is not published in the Federal Register?

             •   If the material is required and it has a legal citation not covered by 1 CPR part 21, contact
                 us (OFR-Legal@gpo.gov).

            •    If the material is required and does not have a legal citation, then you must seek IBR
                 approval.

             •   If the material is agency-produced material (by your agency or by another Federal
                 agency), then you must overcome the presumption that agency-produced materiaJ
                 should be included in full in your regulations (see section IV of this handbook).

             •   If the material is ineligible for IBR approval (see section N of this handbook), then you
                 will need to include the material in your regulations if you want to require it.




3   Legal citations include CFR, U.S.C. and Pub.L. citations.

~ 5 U.S.C. 552(a).



www.archives .gov/fed era 1-register/write/hand book/ibr.pdf                                              Page 2




                                                            JA09512
          Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 8 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 23 of 57

                                                                    IBR HANDBOOK




         E. When Can I Use IBR?
        Incorporatio n by reference is only available if the regulations are published in the CFR. You
        must have formal approval of your IBR request before you may publish a final rule document
        with IBR within one or more amendatory instructions.

        We review preambles of proposed rules to ensure you have discussed any material you are
        proposing to IBR into the CFR. However, you will not request or receive formal approval for
        any potential IBR material referenced in a proposed rule.

        You cannot IBR material into documents that publish in the Notices sections of the daily
        Federal Register.

        F. Is There Material I Cannot IBR?
        You cannot IBR material that has already been published in the Federal Register, regardless of
        the agency that published it. This means that you cannot remove codified material from your
        regulations, create a new document, and then IBR the document.

        If any of that material is actually included in the CFR, use a cross-reference as discussed above.
        If there is no current CFR citation, then you must include the material in full in your
        regulations.

        There is a presumption that agency-prod uced material is not eligible for IBR. If you want to
        require use of that material, you have two options: overcome the presumption and show that it
        cannot be published in the FR/CFR system; or include the material in full in your regulations
        (see section IV of this handbook for more information) .

        You cannot IBR material in a Notice-categ ory document, in a proposed rule5, or in guidance.

        G. Who Should I Contact When I am Consideri ng IBR?
        If you are considering using IBR in a regulation, your regulation drafters and agency liaisons
        should contact us as early as possible. Since this is a technical subject area, contacting the OFR


5Although the Director doesn't formall y approve IBR for proposed rules, we still informally review the proposal to make
sure it meets the requirements of 1 CFR p art 51 (see section VII of this handbook) .

www.archives. gov/federal-reg ister/write/hand book/ibr.pdf                                                       Page 3




                                                       JA09513
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 9 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 24 of 57

                                                              IBR HANDBOOK




       during the drafting process avoids common drafting problems. It also reduces delay of the
       review and approval of your request. You can contact the Legal Division at (202) 741-6030 or
       OFR-Legal@gpo.gov. However, the OFR cannot advise if your agency should IBR a standard
       or which standard to IBR.

       Remember: We can only work with Federal employees. If you have contractors helping to
       draft your regulations, you must work with us on their behalf.




II. What Is the Legal Authority for IBR and the Related
     Guidance?
       A. Freedom of Information Act
           The Freedom of Information Act (FOIA) authorizes the use of IBR (5 U.S.C. 552(a)).

           1. The FOIA allows agencies to incorporate by reference material "reasonably available to
              the class of persons affected" into the CFR.

           2. The FOIA requires the Director of the Federal Register to approve all IBR requests.

       B. Regulations
           1. You can find the OFR's regulations on IBR at 1 CFR part 51.

           2. ACFR regulations, specifically 1 CFR 2.4(b), allow the Director to return documents if
              those documents don't meet the publication requirements.

       C. National Technology Transfer and Advancement Act of 1995
       (NTTAA)
           IBR gives agencies an efficient way to use voluntary consensus standards, as provided for
           in the NITAA (Pub. L. 104-113).

           The NIT AA directs agencies to use voluntary consensu s standards instead of government-
           unique standards when it is practical and consistent with law. Agencies should consult
www.archives.gov/federal-register/write/handbook/ibr.pdf                                            Page 4




                                                    JA09514
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 10 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 25 of 57

                                                                  IBR HANDBOOK




            with voluntary, private sector, consensus standards bodies. Agencies should also
            participate in the development of technical standards when such participation is in the
            public interest and compatible with agency missions, priorities, and resources.




        D. Office of Managem ent and Budget (0MB)
            The 0MB issued two documents that provide valuable information to agencies who work
            with standards and are considering IBRing standards into their regulations

            1. Circular A-119, "Federal Participation in the Developmen t of Voluntary Consensus
                Standards and in Conformity Assessment Activities." This Circular includes guidance
                on IBR.

            2. Memorandu m M-12-08, "Principles for Federal Engagement in Standards Activities to
               Address National Priorities." The Memorandu m describes the five fundamental
               strategic objectives for Federal involvement in standards development and other
               activities related to standards.

        E. Administ rative Conference of the United States (ACUS)
            ACUS Recommend ation 2011-5, Incorporatio n by Reference, focuses on three issues
            agencies frequently confront when incorporating by reference:

            1. Ensuring material incorporated by reference is reasonably available to regulated and
               other interested parties;

            2. Updating regulations that incorporate by reference; and

            3. Navigating procedural requirements and resolving drafting difficulties when
               incorporatin g by reference.

            This recommenda tion identifies and encourages those approaches that have proven most
            successful.




www.archives.gov/federa I-register/write /ha ndbook/ibr .pdf                                      Page 5




                                                        JA09515
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 11 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 26 of 57

                                                               IBR HANDBOOK




III. Who Approves IBR Requests?

           ONLY THE DIRECTOR OF THE FEDERAL REGISTER CA                       APPROVE IBR REQUESTS.

           •   The Director of the Federal Register decides when an agency has completed the process
               and met the requirements in 1 CFR part 51 for incorporating material by reference in its
               regulations.

           •   Publication in the Federal Register of a document containing reference(s) to incorporated
               material does not in itself constitute an approval of the IBR by the Director.

IV. What Types of Material May be Approved for IBR?

           •   The Director may approve an IBR request if the material:

               o Is published data, criteria, standards, specifications, techniques, illustrations, or
                 similar material;

               o Is reasonably available to and usable by the class of persons affected by the
                 publication; and

               o Does not reduce the usefulness of the FR/CFR system;

           •   The agency must show that incorporating the material:

               o Benefits the Federal Government and members of affected classes; or

               o Substantially reduces the volume of material published in the Federal Register and
                 the CFR.

           •   The Director will approve an agency-produced publication for IBR only if the material:

               o Meets the requirements above and possesses other unique or highly unusual
                 qualities; or

               o Is impossible or impractical to print in the FR/CFR system.

           •   The Director will not approve an IBR of any of the following material:
www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                            Page 6




                                                     JA09516
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 12 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 27 of 57

                                                              IBR HANDBOOK




               o Material published previously in the Federal Register or the CFR; or

               o Material published in the United States Code.

           Remember: Non-approval does not mean that you can reference the material and leave out
           the IBR approval language. 1f you want to require the material and the Director does not
           approve the IBR, you must include the material in full in your regulations.




V. When Deciding to Use a Standard, What Should My
_ _Agency Consider_?_ _ _ _ _ _ _ _ _ _ _ _ _ __
       A. Consider Using Standards on a Case-by-Case Basis
           An agency should consider using a standard on a case-by-case basis. Agencies consider
           many factors, including how the use of the standard will affect the economy and existing
           laws. For more guidance, see 0MB Circular A-119 and ACUS Recommendation 2011-5.

       B. Determine Which Version of the Standard to Use
           The agency determines which version of the standard it will incorporate. We cannot advise
           you on which version to IBR. We know, from questions misdirected to our office, that your
           regulated public likely will have questions about why you chose a particular version. No
           matter which version of a standard you decide to IBR, we recommend discussing why you
           chose a particular version of a standard as part of your summary of the IBRed material in
           the preamble of your final rule.

VI. What is the Required Availability for IBR Material?

       A. Incorporated Material Must Be Reasonably Available
           1. Material that is incorporated by reference must be "reasonably available" during the
               lifecycle of the relevant regulation and its regulatory programs. This can pose a
               challenge for agencies, especially when the material is copyrighted. We interpret

www.archives.gov/federal-register/write/handbook/ibr.pdf                                           Page 7




                                                    JA09517
           Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 13 of 42
       USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 28 of 57

                                                              IBR HANDBOOK




                  "reasonably available" in a flexible, case-by-case manner that takes specific situations
                  into consideration. However, the agency must provide the basis for a finding of
                  "reasonably available."

              2. When necessary, the responsible agency should collaborate with the standards
                 development organizations and other pubHshers of incorporated material to ensure that
                 the public has reasonable access to the incorporated documents.

          B. Ways to Make Incorporated Material Reasonably Available
              Agencies considering IBR need to determine if and how the material is available to both
              regulated and other interested parties. If more than one standard meets the agency's need,
              the agency should consider availably of the standards when determining which standard it
              seeks to IBR.

              Some agencies have successfully worked w ith copyright owners to further the goals of both
              transparency and public-private collaboration. For example, ACUS recomrnends 6 agencies
              can consider obtaining permission from the copyright holder to:

              •   Make a read-only copy of the incorporated material available in the agency's public
                  electronic docket during the time that the rulemaking is w1der consideration; or

              •   Make the incorporated material publicly available in read-only form on the copyright
                  owner's website' .

              Remember: Read-only access, on its own, may not meet the reasonable availability
              requirement at the final rule stage of rulemaking. If the regulated parties aren't able to use
              the material (which may be different that simply reading or accessing it) throughout the life
              of the rulemaking, this could lead to enforcement issues.




6   A CUS Recommendation 201 L-5.

7   An example is the ANST IBR Standards Portal.

www.archives.gov/federal-register/write/handbook/ibr.pdf                                               Page 8




                                                    JA09518
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 14 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 29 of 57

                                                                    IBR HANDBOOK




        C. Balancing Procedural Requiremen ts and Substantive Statutory
        Authority
             1. When you propose to incorporate material by reference, under the NITAA, you must
                balance the following:

                 a. Statutory obligations regarding reasonable availability of the standards under FOIA,

                 b. U.S. copyright law,

                 c. U.S. international trade obligations, and

                 d. The ability to substantively regulate under its own authorizing statutes.

             2. When you decide to incorporate material, the preamble of your rulemaking document
                (proposed and finale rules) must:

                 a. Discuss how the incorporated material is available to parties,

                 b. Indicate where the incorporated material can be reviewed or obtained, and

                 c. Summarize the individual standards.

            The preamble requirements in 1 CFR part 51 ensure that readers can understand how the
            incorporated material fits into the regulation and where to £ind and review the standards.
            We will be able to review your request more quickly and efficiently if you draft the
            preamble so that this discussion is under a specific heading.

            Some headings that agencies are using include:

            •    Incorporation by reference

            •    Analysis under 1 CFR part 51

            •    NTTAA and 1 CFR part 51

        D. Web-based Material
            In some cases, the Director may approve web-based material; however:

            1. Web-based material must meet all other IBR requirements.

www .archives.gov/fed era 1-registe r/write/hand book/ib r. pdf                                   Page 9




                                                          JA09519
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 15 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 30 of 57

                                                               IBR HANDBOOK




           2. When submitting web-based material, you must clearly identify the material, including
              a version number (when applicable) and a date. You must also provide a paper or read-
              only electronic copy for our records.

           The Director will not approve a third-party website or a website with dynamically
           generated content. If you have questions about web-based material, contact OFR-
           Legal@gpo.gov.

        E. Electronic Material
           If you want to submit your IBR request electronically contact us for the proper procedure.
           We require that all material associated with an IBR request be provided as all paper copies
           or all electronic files.

           Our regulations require that you make IBRed material available for examination by the
           public. We encourage you to establish a uniform means of storing and archiving IBRed
           material within your agency even if it is in a different format than you send to us. For
           example, if you send us a paper copy, you may still store and archive an electronic copy
           that matches the paper.

       F. Software Applications
           1. The Director may approve open-source code for applications. The Director will not
               approve software in application-form.

           2. The application code must meet all other IBR requirements.

           3. You must clearly identify the version and provide us a hard copy or read-only
              electronic copy of the code.




www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                       Page 10




                                                     JA09520
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 16 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 31 of 57

                                                                 IBR HANDBOOK




VII. When Do I Request Approval for an IBR?

            Do NOT request approval for proposed rule documents. In cases where IBR is being
            proposed, we conduct a limited review after you send these documents in for publication
            but before our general editing process begins.

            Before you send your final rule in for publication, you must request formal IBR approval if
            you are:

            1. IBRing a new standard,

            2. IBRing a different version of a standard,

            3. adding a currently-approv ed IBR standard to a new section,

            4. redesignating a section with already approved IBR material, or

            5. IBRing a standard already approved for another agency.

            For items 3-5 (above), you do not have to give us another copy of the standard(s). You need
            to say in your request letter that you are not including that specific standard and you must
            specify the section and paragraph where the standard was already approved. This will
            reduce questions we have about your !BR request.

            For item 3 (above), you must summarize the standard in the current rule's preamble.

            For item 4 (above), you may or may not need to summarize each standard in the current
            rule's preamble. Contact OFR-Legal@g:po.gov for requirements specific to your rule.

            You may not send us the final rule for publication before receiving the Director's approval
            to publish.

            A document might publish in the Federal Register that contains reference(s) to incorporated
            material, since the Director does not review each document submitted for publication.
            However, without the Director's formal IBR approval, the material referenced is not IBRed.




www .archives.gov/fed era I-register/write/hand book/ibr.pdf                                      Page 11




                                                       JA09521
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 17 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 32 of 57

                                                             IBR HANDBOOK




VIII. How Do I Request Approval for an IBR?

       •   For PROPOSED RULE documents (including ANPRMs), simply send in the document for
           publication.

       •   For FINA L RULE documents, follow these steps:

       A. Review Your IBR Material
           Before you submit a request, make sure all the IBR material is:

           1. Legible with no extraneous marks or annotations;

           2. Complete; and

           3. Clearly identified by the publisher, identification number of the publication, title,
              edition (if any), author (if appropriate), and date. (See Example 1, Example 2.)

       B. Send an IBR Request Package to the Director of the Federal
       Register
           Your package must include:

           1. A signed letter requesting approval of the incorporation and the date you emailed the
              required Word files to OFR-Legal@gpo.gov;

           2. A complete copy of all the material to be incorporated, and

           3. 2 MS Word files, emailed to OFR-Legal@gpo.gov: the file with a complete copy of the
              DRAFT final rule and the file of the request letter. The email must include the date that
              you sent or intend to send the signed letter. The DRAFT rule must be in a single file,
              as if you were submitting that document for publication. Don't combine the request
              letter and draft rule in a single file.

           If you send the IBR request by U.S. mail, be sure to use the address found in the sample
           letter. (We strongly discourage this practice, however. U.S. mail is irradiated before it


www.archives.gov/federal-reglster/write/handbook/ibr.pdf                                              Page 12




                                                   JA09522
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 18 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 33 of 57

                                                                      IBR HANDBOOK




             comes to us, which can damage the documents and delay delivery of the package. If there
             is too much damage, you will have to resend the IBR material.)

             You may hand deliver or courier (including UPS and FedEx) your IBR package to our office
             in Washington, DC. The street address is:

                              7 G Street,     W, Suite A-734, Washington, DC 20401

        C. How do I draft the IBR request letter and Who Can Sign It?
            Send a letter to the Director of the Federal Register specifically requesting IBR approval
            and including the following information (see Example 1, Example 2, Template 1):

            1. The identification designation, usually an alpha-numeric designation 8, title, date,
                 version, and author of each standard you wish to IBR, grouped by publisher,

            2. The title and section where you wish to IBR a standard, including any centralized IBR
               sections. Include references to the lowest paragraph level in the section that requires
               the use of the standard, for example 40 CFR 63.17(b)(l)(iii)(A). This is more detailed
               than what you include in a centralized IBR section. You do not need to include the
               paragraph level for the centralized IBR section in the request letter; the title and section
               are sufficient,

            3. The date that you emailed the required MS Word files, and

            4. Who to contact at your agency regarding your IBR request along with their phone
               number and email address.

            We will accept signatures from OFR liaison officers, program staff, or agency attorneys,
            among others, so the request letter does not necessarily have to be signed by the head of
            your agency. To determine the Federal employee(s) in your agency who may sign an IBR
            request letter, ask your agency's attorneys.




8Even if the standard' s designation contains a partial date, for example ASTM F1234-12, this is not the same as the date of
the document. You must include the date in addition to the designation.

www.archives.gov/f ederal-register/write /handbook/ibr.pdf                                                          Page 13




                                                         JA09523
              Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 19 of 42
          USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 34 of 57

                                                                                                                                                               IBR HANDBOOK




Example 1: Identifying an ASTM standard
The designation is at the top of the title page and in the header of the standard. The approval date is
in footnote 1:
ASTM D4809-13, Standard Test Method for Heat of Combustion Liquid Hydrocarbon Fuels by Bomb
Calorimeter (Precision Method), approved May 1, 2013.


  & ,,111 7
  WT• ~,.,ON._,
                       Designation : 04809 - 13



                       Standard Test Method for
                       Heat of Combustion o1 Liquid Hydrocarbon Fuels by Bomb
                       Calorimeter (Precision Method)1
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www.archives.gov/federa l-register/write/han dbook/ib r.pdf                                                                                                                                                           Page 14




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        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 20 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 35 of 57

                                                                 IBR HANDBOOK




Example 2: Identifying an SAE standard
The designation and type of date are at the top of the title page and in the header of the standard:
SAE ]1634, Electric Vehicle EnergtJ Consumption and Range Test Proced1tre, Cancelled October 2002.


                                              SURFACE                                                CAN -

      S4Elnternationar                        VEHICLE
                                                                             $AE'J1634              CELLED
                                                                                                    OCT2002
                                              RECOMMENDED                    Issued       1993-05
                                              PRAC TIC E                     Cnncenea    2002- 10

                                                                             Superseding J 1634 APR 1999




                        Electric Vehicle Energy Consumption end Range Test Procedure




 I                                      SAE J1634 Cancelled OCT2002




       D. How Long Will It Take for the OFR to Process My IBR Request?
           We will notify you of the decision to approve or disapprove an IBR request within 20
           working days after you submitted the request and all required material. If edits are
           required, we w ill contact you before the end of the 20-day period.

           •   The 20-day period begins when we receive legally-sufficient material for all elements of
               the request.

           •   Failure to follow this procedure will delay the processing of your request.

           •   We do not offer expedited or emergency review of IBR requests.

           Your agency has 2 years from the date of the approval letter to send in the final rule for
           publication, unless you ask for an extension before that date. After 2 years, you will need
           to send in a new request for IBR approval.



www.archives.gov/fed era I-register/write/handbook/ibr.pdf                                                    Page 15




                                                      JA09525
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 21 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 36 of 57

                                                                     IBR HANDBOOK




IX. IBR Language in your Rulemakin g Document
         A. Advance Notice of Proposed Rulemaking
             1. For advance notices of proposed rulemaking (ANPRs), you do not have to request
                 formal approval of IBR. However, to promote transparency and consistency, you may
                 wish to include IBR language in the regulation text of your ANPR.

             2. The Director will approve the A PRM IBR informally, as part of the publication
                process, as long as the term "Incorporation by reference" is included in the List of
                Subjects for the relevant part, and the preamble of the ANPRM includes an easily
                identifiable section that does two things (see Example 3, Example 4, Example 5):

                 a. Identifies and individually summarizes the standards that you propose to IBR;

                 b. Identifies any IBR material previously approved for IBR, if that material is
                    unchanged but appears as part of revised or republished regulatory text;and

                 c. Discusses the ways that the proposed IBR material is reasonably available to
                    interested parties, or how you worked to make that material reasonably available to
                    interested parties for the purposes of the proposed rule.

             3. If the preamble of the A PRM does not meet these requirements, the Director will
                return the ANPRM to your agency.

             4. If you include IBR language in your regulation text, consider following the drafting
                procedures described in section X.C.2 of this handbook.

             If you have questions about how to include IBR in an ANPRM, contact OFR-
             Legal@gpo.gov.

        B. Proposed Rules
             1. For proposed rules, you do not have to request formal approval of IBR. However, to
                 promote transparency and consistency, you may wish to include the IBR language in
                 the regulation text of your proposed rule.



www .a re hives.gov/fed era 1-registe r/write/hand book/ibr. pdf                                   Page 16




                                                           JA09526
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 22 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 37 of 57

                                                               IBR HANDBOOK




           2. The Director will informally approve the proposed IBR, as part of the publication
              process, as long as the term "Incorporation by reference" is included in the List of
              Subjects for the relevant part, and the preamble of the proposed rule includes an easily
              identifiable section that does two things (see Example 3, Example 4, Example 5):

               a. Identifies and individually summarizes the standards that you propose to IBR;

               b. Identifies any IBR material previously approved for IBR, if that material is
                  unchanged but appears as part of revised or republished regulatory text; and

               c.   Discusses the ways that the proposed IBR material is reasonably available to
                    interested parties, or how you worked to make that material reasonably available to
                    interested parties for the purposes of the proposed rule.

           3. If the preamble of the proposed rule does not meet these requirements, the Director will
              return the proposed rule to the agency.

           4. If you include IBR language in the regulatory text of your proposed rule, you should
              follow the drafting procedures described in section X.C.2. of this handbook.

       C. Final Rules
           1. You must request approval for each standard you wish to IBR, and you may not send
               us the final rule with those standards for publication before you receive the Director's
               approval.

           2. The Director will formally approve the IBR request when it meets the content and
              format requirements in sections X.C. and Xl.C. of this handbook (see also Example 3,
              Example 4, Example 5).

           3. If you send a final rule for publication without formal IBR approval, the Director will
              kill and return the document to your agency.




www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                         Page 17




                                                     JA09527
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 23 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 38 of 57

                                                                     IBR HANDBOOK




Example 3: Preamble - reasonable availability
... the American Petroleum Institute (API), provides free online public access to view read only copies
of its key industry standards, .including a broad range of technical standards. All AP! standards that
are safety-related and that are .incorporated into Federal regulations are available to the public for
free view.ing online in the Incorporatio n by Reference Reading Room on API's website at:
http://publica tions.api.org. (2] In addition to the free online availability of these standards for viewing
on API's website, hardcopies and printable versions are available for purchase from AP!. The AP!
website address to purchase standards is:http://www .api.org/publ ications-stan dards-and-st atistics/
publications/ govenunent- cited-safety- documents.

Examp le 4: Preamble - /BR summary
AP! RP 14H, Recommend ed Practice for Installation, Maintenance and Repair of Surface Safety
Valves and Underwater Safety Valves Offshore was withdrawn by AP! and superseded by AP! STD
6AV2 - Installation, Maintenance , and Repair of Surface Safety Valves and Underwater Safety Valves
Offshore. API STD 6AV2, first edition 2014 revises and supersedes AP! Recommend ed Practice 14H,
Fifth Edition 2007. AP! STD 6AV2 provides practices for install.ing and maintaining SSVs and USVs
used or intended to be used as part of a safety system, as defined by documents such as API
Recommend ed Practice 14C. The standard includes provisions for conducting inspections,
installations, and maintenance , field and off-site repair. Other provisions address testing procedures,
acceptance criteria, failure reporting, and documentatio n. Significant changes include updated
def.initions; new provisions for qualified personnel; documentatio n, test procedures and acceptance
criteria for post-installat ion and post-field repair, and offsite repair and remanufactu re alignment to
AP! 6A.

Example 5: Preamble - reasonable availability with /BR summary elsewhere in preamble
VIII.    Incorporation by Reference

Section 1237.2 of the final rule provides that booster seats must comply with applicable sections of ASTM F2640-18. The
OFR has regulations concerning incorporation by reference. 1 CFR part 51. These regulations require that, for a final rule,
agencies must discuss in the preamble to the rule the way in which materials that the agency incorporates by reference are
reasonably available to interested persons, and how interested parties can obtain the materials. Additionally, the
preamble to the rule must summarize the material. 1 CFR 51.S(b).

In accordance with the OFR's requirements, the discussion in section IV of this preamble summarizes the required
provisions of ASTM F2640-18. Interested persons may purchase a copy of ASTM F2640-18 from ASTM, either through
ASTM's website, or by mail at the address provided in the rule. A copy of the standard may also be inspected at the
CPSC's Office of the Secretary, U.S. Consumer Product Safety Commission. Note that the Commission and ASTM
arranged for commenters to have "read-only" access to ASTM F2640-17 El during the PR's comment period.


www. archives.gov/fed era I-register/write /hand book/ibr. pdf                                                     Page 18




                                                         JA09528
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 24 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 39 of 57

                                                               IBR HANDBOOK




X. How Do I Draft IBR Language for the Regulatory Text?
       A. Advance Notices of Proposed Rulemaking
           We do not review specific IBR language set out in the regulatory text section in A PRMs.
           However, to promote transparency and consistency, you may wish to include IBR language
           in your ANPRM. If you include IBR language in your ANPRM, you should follow the
           drafting procedures described in C.2 of this section. If you choose to include IBR language,
           you must follow the formatting requirements of section XI.C.2. of this handbook.

        B. Proposed Rules
           We do not review specific IBR language set out in the regulatory text section of proposed
           rules or in supplemental proposed rules, unless you ask us to. However, to promote
           transparency and consistency, you should include IBR language in your proposed
           regulatory text. If you include IBR language in your notice of proposed rulemaking, you
           should follow the drafting procedures described in C.2 of this section. If you choose to
           include IBR language, you must follow the formatting requirements of section XI.C.2. of
           this handbook.

       C. Final Rules
           1. Preamble text
           The preamble text in your final rule must include language as follows:

               a. The DATES caption

                  i. DA TES must include an approval statement that indicates the date the Director of
                       the Federal Register approved the IBR. It is not necessary to name each approved
                       standard in the DATES section. The effective date of the final rule and the
                       approval date of the incorporation by reference are always the same date (see
                       Template 2).

                 11.   DATES should also include the approval date of any IBR material previously
                       approved for IBR, if that material in unchanged but appears as part of revised or
                       republished regulatory text (see Example 6).

www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                           Page 19




                                                     JA09529
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 25 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 40 of 57

                                                                     IBR HANDBOOK




                   b. The preamble of the final rule includes an easily identifiable section that (see
                      Example 3, Example 4, Example 5):

                        1.     Identifies and individually summarizes the material that you are IBRing;

                        n. Identifies any IBR material previously approved for IBR, if that material is
                               unchanged but appears as part of revised or republished regulatory text; and

                    m. Discusses the ways that the IBR material is reasonably available to interested
                       parties.

                   c. The List of Subjects at the end of the preamble must include the term "Incorporation
                      by reference."

               2. Regulatory text
               The regulatory text in your final rule must:

                   a. Include the words "incorporation by reference" or a form of that phrase, such as
                      "IBR".

                   b. Identify the material to be incorporated1 by identification designation of the
                      standard 9, title, date, version, and author, organized by publisher. This must
                      EXACTLY match the title page, cover sheet, transmittal letter, or other front matter
                      of your incorporated document (see section XI.C. of this handbook, Example 1,
                      Example 2).

                   c.        Contain statements of availability stating where:

                        1.    The standard(s) can be inspected at your agency, and

                        ii. Where copies can be obtained from the publisher.

                  d . Include in the statements of availability:

                   i.         Agency street or internet address 10 where the public can inspect the material;


9Remember, even if the standard's designation contains a partial date, for example ASTM F1234-12, this is not the same
as the date of the document. You must include the date in addition to the designation.

•0   You cannot use a website or domain that is not owned by your agency.

www.archives.gov/f ederal-register/writ e/handbook/ibr.pdf                                                      Page 20




                                                           JA09530
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 26 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 41 of 57

                                                                IBR HANDBOOK




                11.   Agency phone number for questions from the public regarding the material; and

               iii.   Publisher address, phone number, email, and internet address

                e. Refer to 5 U.S.C. 552(a) and include a statement that the Director of the Federal
                   Register approves the incorporation by reference (see Template 3, Template 4).
Example 6: DA TES, previously-approv ed /BR
The incorporation by reference of A SI/TIA-4965-2012 is approved by the Director of the Federal
Register as of March 30, 2018. The incorporation by reference of the material in§ 20.19 was approved
by the Director of the Federal Register as of June 6, 2008 and August 16, 2012. The incorporation by
reference of the other material in§ 68.317 was approved by the Director of the Federal Register as of
October 23, 1996.


XI. How Do I Format Regulator y Text that Contains an IBR?
       A. Advanced Notices of Proposed Rulemaking
           We do not formally review specific IBR language in the text of ANPRMs. However, to
           promote transparency and consistency, you may wish to include IBR language in the
           regulatory text of your ANPRM. If you include IBR language in your regulatory text, you
           must follow the formatting requirements of C.2 of this section.

        B. Proposed Rules
           We do not formally review specific IBR language in proposed regulatory text. However, to
           promote transparency and consistency, you may wish to include IBR language in your
           proposed regulatory text. If you include IBR language in your regulatory text, you must
           follow the formatting requirements of C.2 of this section.

       C. Final Rules
           Formatting the IBR language in your regulatory text depends on how many standards you
           have and whether or not you have (or need) a centralized IBR structure.




www.archives.gov/f ederal-register/write /handbook/ibr.pdf                                         Page 21




                                                      JA09531
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 27 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 42 of 57

                                                                IBR HANDBOOK




           1. Number of standards
               (Regardless of the number of standards, if you have a centralized IBR structure in place,
               you must use that structure.)

               a. One Standard IBRed into one section

                  i. Place the required IBR language immediately after the first reference that you
                       make to an IBRed document in the section (see Template 5);
                   ii. Include the IBR language for each standard in a designated IBR paragraph in each
                       section (see Template 6); or
              iii.     Include a cross-reference to a separate section designated for IBR material (the
                       "centralized IBR section") immediately after the first reference and add the IBR
                       language for the standard into the centralized IBR section (see Template 7)

               b. One Standard IBRed into multiple sections

                  i. Use the format in a.i. (immediately above) for each section; or

                 ii. Include the IBR language for each standard in a designated IBR paragraph in each
                       section (see Template 6); or

                111.   Include a cross-reference to a separate section designated for IBR material (the
                       "centralized IBR section") immediately after the first reference and add the IBR
                       language for the standard into the centralized IBR section (see Template 7).

               c. Multiple Standards IBRed into a single section or into multiple sections

                  i. Include the IBR language for each standard in a designated IBR paragraph in each
                       section (see Template 6), or

                 11.   Include a cross-reference to a separate section designated for IBR material (the
                       "centralized IBR section") immediately after the first reference and add the IBR
                       language for the standard into the centralized IBR section) (see Template 7).

           2. Structure of IBR language for multiple standards or multiple sections
               a. Using a designated IBR paragraph (see Template 6). If you decide to include the IBR
                  approval language in a separnte paragraph, the paragraph must be either the first or
                  last paragraph within the section.


www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                           Page 22




                                                      JA09532
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 28 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 43 of 57

                                                               IBR HANDBOOK




               b. Using a separate section (the centralized IBR section) for a part or subpart (see
                  Template 7). A centralized IBR section allows you to publish the IBR approval
                  language and list the publisher information once for a part instead of repeating it in
                  each section.

                  i. A centralized IBR section must contain the following:

                     1) Required approval language in the first paragraph.

                     2) Required information for each publisher and each standard by:

                       a) Listing each publisher along with its address information in "(a)" level
                          paragraphs in alphabetical order.

                       b) Listing the publisher's incorporated standards separately in "(1)" level
                          paragraphs under the publisher's information paragraph in alpha-numeric
                          order (see Template 7). For each separate paragraph include:

                           i) The description of each the standard as required by 1 CFR 51.9(b)(2) (see
                              Example 1, Example 2), and

                           ii) All sections that require the use of each standard, including the first
                               paragraph level of the section.

                 ii. A centralized IBR section only contains information related to the IBRed standards.
                     It does not contain instructions for using the standards, the proeess the agency
                     follows to change the standards, alternatives to using the IBRed standards, or
                     other information unrelated to describing the IBRed standards or inspecting or
                     obtaining those standards.

                m. The sections that require use of the standard(s) must include the following phrase
                   after the standard's title, "(incorporated by reference, see [INSERT THE
                   CENTRALIZED IBR SECTIO NUMBER])." The cross-reference back to the
                   centralized IBR section allows the reader to find the approval language and
                   information regarding the standard's publisher quickly.

           A poorly drafted centralized IBR section may create problems for you. It can be difficult to
           amend, especially if the centralized IBR section and the section that requires the use of the


www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                                Page 23




                                                     JA09533
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 29 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 44 of 57

                                                              IBR HANDBOOK




            standard do not cross-reference each other. Contact OFR-Lega1@g:po.gov if you have
            questions about how to craft a well-drafted centralized IBR section.

XII. When and How Do I Make Changes to Incorpora ted
     Standards ?
       A. Agencies, not the OFR, Determine Whether to Update
       Incorporated Standards
           1. Your agency must decide whether or not to incorporate a new version of a standard
              already IBRed. When you decide to use a standard, you must request new approval
              for:

               a. Using a new, revised, or updated version of a standard,

               b. Using a standard already approved for another agency,

               c.   Adding a currently-IBRed standard to a new section, or

               d. Redesignating a section that has IBRed standard(s).

           The Director only approves a specific version of a standard to a specific CFR section.

           2. 0MB Circular A-119 recommends that your agency consider the following:

               a. If updating or substituting a new standard would be non-controversia l, consider
                  publishing a standards-specifi c direct final rule or technical amendment.

               b. If updating or substituting a new standard might be controversial, consider
                  publishing a standards-specific proposed rule.

               c. If updating or substituting a new standard would require a substantial re-opening of
                  a rule, consider addressing these revisions in the context of a broader-scope "look-
                  back" rulemaking (rather than a standards-specifi c proposed rule).




www.archives.gov/federal-register/writ e/handbook/ibr.pdf                                           Page 24




                                                    JA09534
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 30 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 45 of 57

                                                                   IBR HANDBOOK




        B. If Your Agency Withdraws the Final Rule containing the IBR or the
        Final Rule Does Not Go into Effect
            If your agency withdraws the final rule containing the IBR or the final rule does not go into
            effect (for example, if the effective date is delayed), you must notify the Director of the
            Federal Register in writing within 5 working days.




XIII. How Do I Remove IBR Material from the Code of
      Federal Regulations (CFR)?

        If your agency needs to remove material incorporated by reference, you must:

            1. Notify the Director of the Federal Register in writing (see Template 8); and

            2. Provide a copy of the draft rule removing that material to the Office of the Federal
               Register before you submit the rule for publication. If you are removing material from
               a centralized IBR section, make sure you remove the affected paragraphs from that
               centralized section using the correct amendatory instructions (see Template 9).




www .archives .gov/fede ra I-register/write/hand book/ibr. pdf                                    Page 25




                                                         JA09535
             Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 31 of 42
         USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 46 of 57

                                                                IBR HANDBOOK




XIV. IBR Checklist for Final Rules
     • Assemble your IBR approval request package, including:

              ✓   A signed !BR approval request letter (including the CFR titles and ALL affected CFR

                  sections, including any centralized !BR sections) that states the date you emailed the

                  required MS Word files to OFR-Legal@gpo.gov;


              ✓   Complete copies of all standards being requested for !BR-including title pages, cover

                  sheets, transmittal letters, and other front matter; and


              ✓   The MS Word file with the complete DRAFT of the final rule and the MS Word file of

                  the request letter.


     •   Submit the package at least 20 working days before you want to send the final rule for
         publication.

     • Deliver the signed request letter and standards (by means other than USPS             11 )   to 7 G Street,
         NW, Suite A-734, Washington, DC 20401.

     •   Email the MS Word files to OFR-Legal@gpo.gov, including the date that you sent the signed
         request letter and standards.




 You may send the package using USPS to the mailing address on the IBR Approval Request Letter (Example 1).
11

However, this method may result in a de1ay in our receipt and damage to the package from mail irradiation.

www.archives.gov/f ederal-register/write /handbook/ibr.pdf                                                    Page 26




                                                      JA09536
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 32 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 47 of 57
                                                                                IBR HANDBOOK




XV. Templates and Boilerplate Language
Template 1.       IBR APPROVAL REQUEST LETTER ..................................... .............. .. ..... 28
Template 2.       PREAMBLE DATES CAPTION-REQUIRED LA GUAGE ................... 29
Template 3.       IBR LA GU AGE I                 REGULATORY TEXT .............................................. 30
Template 4.       OPTIONAL IBR LA GUAGE I                             REGULATORY TEXT. ..................... .. 31
Template 5.       ONE STANDARD !BRED INTO ONE SECTION ..................................... 32
Template 6.       SEPARATE PARAGRAPH FOR THE IBR ............. .......... .......................... 33
Template 7.       SEPARATE SECTION FOR THE IBR ("CENTRALIZED IBR") ............. 34
Template 8.       NOTIFICATION OF THE REMOVAL OF MATERIAL
                  !BRED INTO THE CFR ................ ......................... .. ...................................... 36
Template 9.       REMOVAL OF STA DARDS FROM A CE TRALIZED
                   IBR SECTIO ................................................................................................ 37




www.archives.gov/federal-re gister/write/handbook/ibr.pdf



                                                                 JA09537
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 33 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 48 of 57

                                                                        IBR HANDBOOK




Template 1. IBRAPPROVAL REQUEST LETTER

AGENCY LETTERHEAD

December 25, 20xx

[Insert full name of DIRECTOR], Director

Office of the Federal Register (F)
The National Archives and Records Administration
8601 Adelphi Road
College Park, MD 20740-6001



Dear Director [insert last name of DIRECTOR]:

In accordance with 1 CFR part 51, we request that you approve the incorporation by reference of the
material listed below into Title(s) XX of the Code of Federal Regulations (CFR). We have included
copies of all IBR material. The material will be referenced in§ yy.zz [CE TRALIZED IBR SECTION]
and as follows 12 :

NAME or ACRONYM of Publisher: [PUBLISHER CONTACT I FORMATIO ]

(For each standard) IDE TIFICATION DESGINATION 13, TITLE, VERSIO (if any), DATE,
AUTHOR (if applicable); LIST EACH SECTIO WHERE THE MATERIAL WILL BE REFERE CED.
THIS REFERENCE SHOULD INCLUDE DETAILS TO A Y SUBPARAGRAPH LEVELS, FOR
EXAMPLE§ 63.1234(c)(l)(ii)(B).

[IF MULTIPLE PUBLISHERS, GROUP ALPHABETICALLY BY PUBLISHER AND THEN BY
STANDARD IN ALPHA-NUMERIC ORDER]




12   If you don't have a centralized IBR section, simply say "referenced as follows:"

13Remember, even if the standard' s designation contains a partial date, for example ASTM F1234-12, this is not the same
as the date of the document. You must include the date in addition to the designation.

www .archives .gov/fed era I-register/ write/hand book/i b r. pdf                                                 Page 28



                                                            JA09538
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 34 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 49 of 57

                                                                       IBR HANDBOOK




We emailed an MS Word file of the draft final rule, along with the MS Word file for this letter, on
[insert date of email].

[IF THE OFR ALREADY HAS A COPY OF A STANDARD, INCLUDE A STATEMENT THAT YOU
ARE NOT INCLOSI GA COPY OF THAT STA DARD BECAUSE IT IS ALREADY IBRed IN xx
CFRyy.zzJ

Please contact [INSERT NAME] of my staff at [TELEPHO E NUMBER] or by email at [I SERT
EMAIL ADDRESSJ if you have any questions.



Sincerely,

[SIGN]

Type name,

Title




Template 2. PREAMBLE DATES CAPTION- REQUIRED LANGUAGE


DATES: This regulation is effective July 3, 20xx.14 The incorporation by reference of certain
publications listed in the rule is approved by the Director of the Federal Register as of July 3, 20xx.

Or

DATES: This regulation is effective [INSERT date 90 days after publication in the Federal Register].
The incorporation by reference of certain publications listed in the rule is approved by the Director of
the Federal Register as of [I SERT date 90 days after publication in the Federal Register].




14   No matter what the effective date is, the IBR approval date must match it. You can copy and paste the effective date.

www .archives.gov/fede ra 1-registe r/write/hand book/i br. pdf                                                       Page 29



                                                           JA09539
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 35 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 50 of 57

                                                                IBR HANDBOOK




Template 3. IBR LANGUAGE IN REGULATORY TEXT

                                     Single standard into a single section
You must proceed in accordance with [INSERT THE IDENTIFICATION DESGINATION, TITLE, VERSION (if
any), DATE, AUTHOR (if applicable)]. The Director of the Federal Register approves this incorporation by
reference in accordance with 5 U.S.C. 552(a) and 1 CPR part 51. You may obtain a copy from [PUBLISHER
CONTACT INFORMATION] . You may inspect a copy at [AGENCY CONTACT INFORMATION] or at the
National Archives and Records Administration (NARA). For information on the availability of this material at
NARA, call 202-741-6030, or go to www.archives.gov /federal-register/cf r/ibr-locations.htm l.

                                       IBR paragraph within a section
(a)The standards required in this section are incorporated by reference into this section with the approval of
the Director of the Federal Register under 5 U.S.C. 552(a) and 1 CPR part 51. All approved material is available
for inspection at [INSERT NAME OF AGENCY, PROGRAM OFFICE OR DIVISION, AND PHONE NUMBER
WHERE COPIES ARE ON FILE] and is available from the sources indicated below. It is also available for
inspection at the National Archives and Records Administration (NARA) . For information on the availability
of this material at NARA, call 202-741-6030 or go to go to www.archjves.gov /federal-register/cf r/ibr-
loca tions.html.

(1) [PUBLISHER CONTACT INFORMATIO

(i) IDENTIFICATION DESGI ATION, TITLE, VERSION (IF ANY), DATE, AUTHOR (IF APPLICABLE)

(ii) [Repeat for each standard or reserve thls paragraph]

                                            Centralized IBR section
Certain material is incorporated by reference into this part with the approval of the Director of the Federal
Register under 5 U.S.C. 552(a) and 1 CPR part 51. All approved material is available for inspection at [INSERT
NAME OF AGENCY, PROGRAM OFFICE OR DIVISION, AND PHONE NUMBER WHERE COPIES ARE ON
FILE], and is available from the sources listed below. It is also available for inspection at the National Archives
and Records Administration ( ARA). For information on the availability of this material at NARA, call 202-
741-6030 or go to go to www.archives.gov /federal-register/cf r/ibr-locations.htm l.

(a) [PUBLISHER CONTACT INFORMATIO ]

(1) IDENTIFICATION DESGINATION, TITLE, VERSIO               (IF ANY), DATE, AUTHOR (IF APPLICABLE)

(2) [Repeat for each standard or reserve this paragraph]




www.archives.gov/federal-register/write/handbook/ibr.pdf                                                   Page 30


                                                     JA09540
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 36 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 51 of 57

                                                                     IBR HANDBOOK




Template 4. OPTIONAL IBR LANGUAGE IN REGULATORY TEXT 15



To enforce any edition other than that specified in this section, the [I SERT NAME OF AGENCY]
must publish a document in the Federal Register and the material must be available to the public.




15 OFR does not require statements related to enforceability. You may use this language after the
                                                                                                  first sentence of the
required text (see Example 5).

www.archives.gov/federal-re gister/write/handbook/ibr.pdf                                                           Page 31


                                                         JA09541
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 37 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 52 of 57

                                                             IBR HANDBOOK




Template 5. ONE STANDARD IBRED INTO ONE SECTION



Title 33: Navigation and Navigable Waters

PART 101-MARITTME SECURITY: GENERAL

Subpart C-Communication (Port - Facility-Vessel)

§ 101.310 Additional communication devices.

(a) Alert Systems. Alert systems, such as the ship security alert system required in Safety of Life at
Sea ("SOLAS") Chapter XI-2, Regulation 6 may be used to augment communication and may be one
of the communication methods listed in a vessel or facility security plan under part 104, 105, or 106 of
this subchapter. SOLAS Chapter XI-2, Regulation 6 (2006) is incorporated by reference into this
section with the approval of the Director of the Federal Register under 5 U.S.C. 552(a) and 1 CFR part
5 1. To enforce any edition other than that specified in this section, the Coast Guard must publish a
document in the Federal Register and the material must be available to the public. All approved
material is available for inspection at [INSERT AME, ADDRESS OF AGENCY, PROGRAM OFFICE
OR DIVISION, AND PHO E NUMBER WHERE COPIES ARE ON FILE] and is available from the
International Maritime Organization (IMO) Publications Section, 4 Albert Embankment, London SE 1
7SR, United Kingdom, [ADD PHONE UMBER AND WEBSITE IF AVAILABLE]. It is also
available for inspection at the ational Archives and Records Administration (NARA) . For
information on the availability of this material at NARA, call 202-741 -6030 or go to
www .archives. gov /federal-register/cf r/ibr-locations.html.

(b) Automated Identification Systems (AIS). AIS may be used to augment communication, and may
be one of the communication methods listed in a vessel security plan under part 104 of this
subchapter. * * *

* * ***




www.archives.gov/federal-register/write/handbook/ibr.pdf                                         Page 32


                                                   JA09542
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 38 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 53 of 57
                                                                        IBR HANDBOOK




Template 6. SEPARATE PARAGRAPH FOR THE IBR

Title 46: Shipping

PART 183-ELECTRICAL INSTALLATIO

Subpart A-General Provisions
§ 183.130 Alternative standards.

(a) A vessel, other than a high speed craft, of not more than 19.8 meters (65 feet) in length carrying not more than 12
passengers, may comply with the following requirements instead of complying with the requirements of this part in their
entirety:

(1) Section 183.420; and

(2) The follov.ring American Boat and Yacht Council (ABYC) Projects where applicable:

(i) E-8, "Alternating Current (AC) Electrical Systems on Boats;"

(ii) E-9, "Direct Current (DC) Electrical Systems on Boats;" and

(iii) A-16, "Electrical Navigation Lights."

(b) A vessel with an electrical installation operating at less than 50 volts may meet the requirements in 33 CFR 183.430
instead of those in §1 83.340 of this part.

(c) The standards required in this section are incorporated by reference into this section with the approval of the Director
of the Federal Register under 5 U.S.C. 552(a) and 1 CPR part 51. All approved material is available for inspection at
[INSERT NAME OF AGENCY, PROGRAM OFFICE OR DIVISION, AND PHONE NUMBER WHERE COPIES ARE ON
FILE] and is available from the sources indicated below. It is also available for inspection at the National Archives and
Records Administration ( ARA). For information on the availability of this material at NARA, call 202-741-6030 or go to
vvww .archives.gov /federa I-register/dr/ibr-1 ocations.htm.1.

(1) The following standards are available from the American Boat and Yacht Council (ABYC), 3069 Solomons Island Rd.,
Edgewater, MD 21037, [ADD PHONE NUMBER AND WEBSITE IF AVAILABLE].

(i) E-8, "Alternating Current (AC) Electrical Systems on Boats" (1994).

(ii) E-9, "Direct Current (DC) Electrical Systems on Boats" (2000).

(iii) A-1 6, "Electrical Navigation Lights" (2001).

(2) [Reserved]




www .a re hives .gov/fede ra 1-regi ste r/write/hand book/i br. pdf                                                  Page 33



                                                              JA09543
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 39 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 54 of 57

                                                                        IBR HANDBOOK




Template 7. SEPARATE SECTION FOR THE IBR ("CENTRALIZED
 IBR")



Title 46: Shipping

PART 107-INSPECTION AND CERTIFICATION

Subpart B-Inspection and Certification

§ 107.1 15 Incorporation by reference.

(a) 16 Certain material is incorporated by reference into this part with the approval of the Director of
the Federal Register under 5 U.S.C. 552(a) and 1 CFR part 51. All approved material is available for
inspection at [INSERT NAME OF AGENCY, PROGRAM OFFICE OR DIVISION, AND PHONE
NUMBER WHERE COPIES ARE ON FILEJ, and is available from the sources listed below. It is also
available for inspection at the National Archives and Records Administration (NARA). For
information on the availability of this material at NARA, call 202-741-6030 or go to
www.archives.gov/federal-register/cfr/ibr-locations.html.

(b) The American Bureau of Shipping, ABS Plaza, 16855 Northchase Drive, Houston, TX 77060, [ADD
PHONE NUMBER AND WEBSITE IF AVAJLABLE].

(1) Rules for Building and Classing Mobile Offshore Drilling Units, 1978, IBR approved for§
107.205(b).

(2) U.S. Supplement to ABS Rules for Mobile Offshore Drilling Units, November 1, 1998, IBR
approved for§ 107.205(b).(c) The American Petroleum Institute, 1220 L Street NW., Washington, D.C.
20005-4070.

(1) API RP2D - Recommended Practice for Operation and Maintenance of Offshore Cranes, 1972
(" API RP2D"), IBR approved for§ 107.259.

(2) API Spec 2C - Specification for Offshore Cranes, 1972 (" API Spec 2C"), IBR approved for§ 107.309.

* * ***


16
     You can designate this paragraph as (a) or you can leave it as the intro paragraph to the section.

www.archives.gov/fed era I-register/write/hand book/ibr.pdf                                               Page 34


                                                            JA09544
        Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 40 of 42
    USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 55 of 57

                                                              IBR HANDBOOK




Title 46: Shipping

PART 107 -INSPECTION A D CERTIFICATION

Subpart B- Inspection and Certification

§ 107.259 Crane inspection and testing.

(a) Each crane must be inspected and tested in accordance with Section 3 of the API RP 2D
(incorporated by reference, see§ 107.115), except that the rated load test must be performed in
accordance with§ 107.260.

*****




www.archives.gov/federal-register/write/handbo ok/ibr.pdf                                         Page 35



                                                    JA09545
         Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 41 of 42
     USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 56 of 57

                                                                     IBR HANDBOOK




Template 8. NOTIFICATION OF THE REMOVAL OF MATERIAL
 IBRED INTO THE CFR



AGENCY LETTERHEAD

December 25, 20xx



[Insert full name of DIRECTOR], Director

Office of the Federal Register (F)
The National Archives and Records Administration
8601 Adelphi Road
College Park, MD 20740-6001

Dear Director [insert last name of DIRECTOR]:

In accordance with 1 CFR 51.11, we are removing the standards listed below as follows:

NAME or ACRONYM of Publisher: (PUBLISHER CONTACT INFORMATION]

(For each standard) IDENTIFICATION DESGI ATION 17, TITLE, VERSION (if any), DATE,
AUTHOR (if applicable); LIST EACH SECTION WHERE THE MATERIAL WILL BE REFERE CED.
THIS REFERE CE SHOULD INCLUDE DETAILS TO ANY SUBPARAGRAPH LEVELS, FOR
EXAMPLE§ 63.1234(c)(l)(ii)(B).

[IF MULTIPLE PUBLISHERS, GROUP ALPHABETICALLY BY PUBLISHER AND THEN BY
STANDARD IN ALPHA-NUMERIC ORDER]

We emailed the MS Word file of the draft final rule removing this [these] material(s) from the CFR on
[insert date of email].




17 Remember, even   if the standard's designation contains a partial date, for example ASTM F1234-12, this is not the same
as the date of the document. You must include the date in addition to the designation.

www.archives.gov/federal-reg ister/write/handbook/ibr.pdf                                                           Page 36


                                                         JA09546
            Case 1:13-cv-01215-TSC Document 204-64 Filed 11/13/19 Page 42 of 42
        USCA Case #22-7063    Document #1984637     Filed: 02/03/2023  Page 57 of 57
                                                                      IBR HANDBOOK




Please contact [I SERT NAME] of my staff at [TELEPHONE                     UMBER] or by email at [INSERT
EMAIL ADDRESS] if you have any questions.

Sincerely,

[SIG ]

Type name,

Title




Template 9 . REMOVAL OF STANDARDS FROM A CENTRALIZED
 IBR SECTION

PART 63- ATIONAL EMISSIO                      STANDARDS FOR HAZARDOUS AIR POLLUTA TS FOR
SOURCE CATEGORIES

1. The authority citation for part 63 continues to read as follows:

Authority: 42 U.S.C. 7401 et seq.

2. Amend§ 63.14 by removing paragraphs (a)(S) and (e)(27) [and, if needed: redesignating
subsequent paragraphs accordingly].




www .archives .gov/fede ra 1-registe r/write/h and book/i br. pdf                                      Page 37



                                                            JA09547
